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Attorneys for Plaintiffs

                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

WESTERN WATERSHEDS PROJECT,
CENTER FOR BIOLOGICAL DIVERSITY,                     No. 1:17-cv-206-BLW
WILDEARTH GUARDIANS, and
PREDATOR DEFENSE,
                                                     ERRATA [ECF NO. 52]
                     Plaintiffs,

                v.

USDA WILDLIFE SERVICES,

                     Defendant, and

IDAHO WOOL GROWERS’
ASSOCIATION,

                     Defendant-Intervenor.


       In the Notice of Change of Address, ECF No. 52, the undersigned previously filed, the

caption and Certificate of Service inadvertently failed to include Defendant-Intervenor the Idaho




                                             ERRATA—1
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Wool Growers’ Association and its counsel. The caption should be the one above, and the

Certificate of Service should read as follows:

                                CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of December, 2018, I filed the foregoing NOTICE
OF CHANGE OF ADDRESS electronically through the CM/ECF system, which caused the
following parties or counsel to be served by electronic means, as more fully reflected on the
Notice of Electronic Filing:

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Attorneys for Defendant-Intervenor

A corrected Notice of Change of Address is filed herewith.

Dated: December 31, 2018                     Respectfully submitted,

                                             /s/ Talasi B. Brooks
                                             Talasi B. Brooks (ISB # 9712)

                                             Attorney for Plaintiffs

                                CERTIFICATE OF SERVICE

        I hereby certify that on this 31st day of December, 2018, I filed the foregoing ERRATA
and accompanying NOTICE OF CHANGE OF ADDRESS [CORRECTED] electronically
through the CM/ECF system, which caused the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing:

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                                          ERRATA—2
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                                         /s/ Talasi B. Brooks
                                         Talasi B. Brooks (ISB # 9712)
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                                     ERRATA—3
